Case 1:19-cv-25189-RNS Document 1 Entered on FLSD Docket 12/17/2019 Page 1 of 12

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION
CASE NO.:
NATACHA ALEXANDRE,
Plaintiff,

VS.

CITY NATIONAL BANK OF FLORIDA,
A Florida corporation,

Defendant.
/

COMPLAINT AND DEMAND FOR JURY TRIAL

Ls Plaintiff, NATACHA ALEXANDRE, by and through her undersigned attorney, alleges
the following against Defendant, CITY NATIONAL BANK OF FLORIDA, a Florida
corporation, organized under the laws of the State of Florida, and states, to wit:

INTRODUCTION

2 This action is brought pursuant to Title VII of the Civil Rights Act of 1964, as
amended (42 U.S.C. § 2000e, et seq.). The jurisdiction of this Court is invoked to secure
protection of and redress the deprivation of rights guaranteed by federal law involving
discrimination in employment.

JURISDICTION AND VENUE

a This is an action which arises under Title VII of the Civil Rights Act of 1964, as
amended, (42 U.S.C. § 2000e, et. seq.).
4, Jurisdiction is founded on 42 U.S.C. 2000e-5(f)(3) and 28 U.S.C. § 1331 (Federal

Question).
Case 1:19-cv-25189-RNS Document 1 Entered on FLSD Docket 12/17/2019 Page 2 of 12

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Venue is proper in the Southern District of Florida pursuant to 42 U.S.C. § 2000e-
5(f)(3), Title VII “Venue”; and 28 U.S.C. § 1391(b) and ( c) (Venue generally).

EXHAUSTION OF ADMINISTRATIVE PROCEDURES

Plaintiff, NATACHA ALEXANDRE, timely filed with the Equal Employment
Opportunity Commission (“EEOC”) a charge of discrimination against Defendant, CITY
NATIONAL BANK OF FLORIDA. Plaintiff, NATACHA ALEXANDRE, received a
notice of the right to sue from EEOC within ninety (90) days of the filing of this
Complaint. A copy of the right to sue notice letter from the EEOC is attached as Exhibit
“".

PARTIES
At all times material to this action, Plaintiff, NATACHA ALEXANDRE, is a resident of
Broward County, Florida, is over the age of 18, and is otherwise sui juris.
At all relevant times, Defendant, CITY NATIONAL BANK OF FLORIDA, is a Florida
corporation organized under the laws of the State of Florida, and the incident occurred in
Miami-Dade County, Florida.
At all relevant times, Defendant, CITY NATION BANK OF FLORIDA, [Hereinafter,
“CNB” ], is engaged in an industry affecting commerce.
At all relevant times, Defendant, CNB, employs Plaintiff, NATACHA ALEXANDRE,
within the meaning of 42 U.S.C. § 2000e-(b).
Defendant, CNB, has engaged in policies and practices which are willfully, intentionally
and unlawfully discriminating against Plaintiff on the basis of her race (Black) and her

national origin (Haitian).

Page 2 of 12
Case 1:19-cv-25189-RNS Document 1 Entered on FLSD Docket 12/17/2019 Page 3 of 12

FACTUAL ALLEGATION TO ALL COUNTS

12 Plaintiff, ALEXANDRE, sues Defendant, CNB, and re-alleges paragraphs | through !1,
as if fully set forth herein and are incorporated by this reference.

13. Plaintiff, ALEXANDRE, is a Black female of Haitian-African descent and ancestry,
protected under Title VII (42 U.S.C. § 2000(e)(b)).

14. Defendant, CNB, is an employer within the meaning of Title VII. Moreover, at all time
material hereto, Plaintiff, ALEXANDRE, is employed by Defendant, CNB, as a full time
Business Sales and Service Manager Senior a/k/a Bank Branch Manager.

15. Plaintiffs work duties as the Business Sales and Service Manager include working
closely with the recruitment and selection process, such as conducting any providing
feedback from interviews, recruiting within the budget, identifying opportunities for cost
savings and ensuring proper department specifics for on boarding; providing timely
feedback to employees, coaching, taking disciplinary actions, making annual evaluations,
reporting; working hand in hand with the Business Market Leader (BML) and Small
Business Banker (SBB) for Banking Center’s deposit and loan program growth, focusing
on client retention and identifying new opportunities; working closely with BML and
SBB to bring and promote referrals to fruition; adhering to the cash handling, operational,
security and BSA/AML policies and procedures to avoid liability; coaching the Business
Transaction Representatives and/or Business Transaction Leaders to standards set by
CNB for client referrals, among other things. Plaintiff, ALEXANDRE, at all times
material, is qualified for her position as a Business Sales and Services Manager, and was

performing her job satisfactorily.

Page 3 of 12
Case 1:19-cv-25189-RNS Document 1 Entered on FLSD Docket 12/17/2019 Page 4 of 12

16. Plaintiff has been in the banking field for more than twenty (20) years. During twelve
(12) of those twenty (20) years, Plaintiff has been a Branch Banking Manager.
Furthermore, Plaintiff has been working with the Defendant for seven (7) years. Plaintiff
has been a Banking Branch Manager with Total Bank since 2012. On June 18, 2018,
date, Total Bank merged with Defendant, CNB. Defendant retained Plaintiff in the same
capacity as she was while at Total Bank, as Banking Branch Manager.

17, Plaintiffhas several awards and certificates of achievement as Banking Branch Manager
with Total Bank and her former employer. Furthermore, as a top performer, Plaintiff has
earned several thousands of dollars in bonuses and commissions, both quarterly and
annually, based on Plaintiff's performance levels.

18. The Bank Branch Center where Plaintiff works has a goal of $250,000.00, in new
deposits, per month. Plaintiff's Bank Branch Center has consistently brought more than
One Million ($1,000,000.00) Dollars, in new deposits each month. Because of
Plaintiff's high performance, Plaintiff normally has a bonus of several thousand dollars.
In fact, Plaintiff’s last performance incentives for 2018, totaled approximately Twenty
Two Thousand Five Hundred ($22,500.00) Dollars.

19. Defendant CNB hired a new employee and said new employee was assigned to Plaintiff's
Banking Center. Plaintiff was not given the opportunity to interview that new employee
to see if he would be a good fit for her staff at Plaintiffs Branch Banking Center. One
day, Plaintiff simply noticed a person come into the Branch Banking Center and introduce
himself as “J.S.”, and who told Plaintiff, “I am the new Branch Business Banker; I will
working at your office.” Plaintiff had to call CNB’s Human Resources Department to
confirm if that was true or not because no one from Human Resources (“HR”) gave

Page 4 of 12
Case 1:19-cv-25189-RNS Document 1 Entered on FLSD Docket 12/17/2019 Page 5 of 12

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Plaintiff any prior notice that “J.S.” would be coming to work at her Branch Banking
Center.

Plaintiff believed that she was not consulted with about the hiring of the new Business
Banker, “J.S.”, because Plaintiff is Black and Haitian-African whereas other White or
Hispanic Branch Banking Managers, in similar positions to Plaintiff, have been consulted
with in the past before such a move. Plaintiff talked to some of her peers about the
incident, all of whom were in disbelief that it had happened because they had never seen
this before.

Plaintiff as the Branch Banking Manager, who was charged with the overall operations of
her Branch Center, gave “J.S.” an assignment to do as the Branch Business Banker.
However, “J.S.” did not do the task assigned to him by Plaintiff because it was J.S.’s
impression that Plaintiff was not his boss and/or had any supervisory authority over him.
In fact, out of anger or contempt, J.S. screamed at Plaintiff when she inquired as to the
status of the assigned project. The actions and demeanor of “J.S.”, as directed to
Plaintiff, were tantamount to “insubordination”, which Plaintiff treated as such. Thus, on
or about April 12, 2019, and again, on April 15, 2019, Plaintiff reported the incident
involving J.S.’s insubordination to CNB’s HR Department, but the HR Department did
nothing about it.

Plaintiff called CNB’s Human Resources Department and its Area Manager to complain
about “J.S.’s” behavior which was progressively deteriorating. In Plaintiff's view as an
experienced Branch Banking Manager, her Branch Banking Center was no longer an
environment that was safe for both customers and her staff and co-workers, for whom she

was responsible. Again, CNB’s HR Department and its upper management did nothing

Page 5 of 12
Case 1:19-cv-25189-RNS Document 1 Entered on FLSD Docket 12/17/2019 Page 6 of 12

23;

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in response to Plaintiff's concerns that she voiced to Defendant’s HR Department as well
as to its Area Manager.
On April 29, 2019, “J.S.”, using a red marker, wrote on the glass wall of his office in the
Banking Center: “THERE IS A RHYTHM AND REASON TO MY MADNESS”, which
statement ended with the image of a Smiley Face.
On April 30, 2019, “J.S.” taped to the glass wall of his office a letter that he sent via
email to Joanne Morris, CNB’s Director of Human Resources. Said letter was in large
print and said:

“Joanne,

One week ago you met with me and promised me a callback that

same afternoon and it is one week later no call, no help, and

lin my office a nervous breakdown.

Please do not call 911, just refer to a therapist who can HELP ME!

I will quietly wait under my desk for help.”
Plaintiff, as the Branch Banking Center’s Manager, believed that “J.S.” was a danger to
himself, to Plaintiff, co-workers and customers, which caused her to call “911", which, in
response, dispatched Police and Fire Rescue to the Branch Banking Center. Police
arrived, as did Fire Rescue, who tended to “J.S.’s” medical needs. During the time that
Police and Fire Rescue were tending to “J.S.”, he took off his jacket and dress shirt in his
office. When Fire Rescue asked to speak to “J.S.”, he asked Fire Rescue to closely
follow him and that he wanted to go to Plaintiff's office because that is where he felt the
most comfortable. Once “J.S.” was in Plaintiff's office, his level of agitation and distress
increased, causing him to pick up the furniture in Plaintiffs office and throw each item of

furniture into the air.

Page 6 of 12
Case 1:19-cv-25189-RNS Document 1 Entered on FLSD Docket 12/17/2019 Page 7 of 12

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On or about May 2, 2019, Joseph Cross, who is Hispanic, and is the Regional Director of
Operations, visited the Branch Banking Center to interview Plaintiff's employees about
Plaintiff, not about “J.S.’s” behavior or the incident involving him.

On May 03, 2019, Emma Pacetti, who is Hispanic, and is a Senior Manager, came to
Plaintiff's Branch Banking Center to deliver a written warning to Plaintiff about her
“performance deficiencies” alleged to have been made about her by Joseph Cross. The
warning letter was full of false accusations and Plaintiff refused to sign it. The written
warning was in retaliation because Plaintiff had complained about “J.S.” and the incident
that happened on April 30, 2019. Plaintiff attributed it to that incident because there was
now a public record (in the form of a Police Offense/Incident Report) pertaining to the
incident involving “J.S.”, which occurred on CNB’s premises and which CNB perceived
to cause CNB to be cast in a negative light.

In the First Quarter of 2019, Plaintiff was expected to receive several thousands of dollars
for her quarterly performance incentive. Instead, on May 15, 2019, CNB paid Plaintiff an
incentive payment via payroll (direct deposit) for the amount of $450.00, as payment of
Plaintiff's incentive for the First Quarter of 2019. Furthermore, for the Second Quarter of
2019, Plaintiff's performance was equally outstanding, yet she did not receive any
quarterly performance incentive payments. Plaintiff spoke with some of her peers to
inquire about their quarterly performance bonuses. Plaintiff's peers with whom she spoke
told her that each had received several thousands of dollars, as quarterly incentives for
both the First and Second Quarters of 2019. Plaintiff requested a copy of her
performance sheets for the quarters in question in order to determine Plaintiff's

entitlement to quarterly performance incentive. Defendant provided Plaintiff with a copy

Page 7 of 12
Case 1:19-cv-25189-RNS Document 1 Entered on FLSD Docket 12/17/2019 Page 8 of 12

of the performance reports, but intentionally and purposefully redacted the performance
incentive amount that Plaintiff should have received and edited the numbers to reflect the
amount of zero dollars ($0) as performance incentive payments due Plaintiff. Defendant
has been unable to give Plaintiff a satisfactory explanation for the drastic cut in Plaintiff's
quarterly incentive performance bonus payments for the First and Second Quarters of
2019.

29. Defendant created a hostile work environment which caused Plaintiff to have a higher
level of stress than normal. Plaintiff now suffers high blood pressure, headaches, heart
palpitations, and stress syndrome, which makes Plaintiff unable to perform her daily
routine and to interact with others in certain environments. Plaintiff has had to request
FMLA (“Family and Medical Leave Act”), as a result of the hostile work environment in
order to address her health needs.

30. ‘Plaintiff has a satisfactory evaluation from Defendant CNB.

31. CNB delegated to its senior manager(s) the power to affect Plaintiff's compensation
and the terms, conditions and privileges of Plaintiff's employment.

32. The conduct of CNB, by and through its administrators and senior manager(s), deprived
Plaintiff of her statutory rights under Title VII.

33. As a direct, natural, proximate and foreseeable result of the CNB’s actions, Plaintiff
suffered pecuniary losses, loss enjoyment of life, loss of dignity and other non-pecuniary
losses and intangible injuries.

34, | CNB was willful and wanton, and in such disregard of the Plaintiff's rights not be
discriminated against on the basis of race, or national origin, or retaliated against
Plaintiff for complaining about the new Branch Business Banker (“‘J.S.”), so as to entitle

Page 8 of 12
Case 1:19-cv-25189-RNS Document 1 Entered on FLSD Docket 12/17/2019 Page 9 of 12

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Plaintiff to punitive damages to punish Defendant CNB for its actions and to deter it and
others from such actions in the future.

COUNT I
VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964
RACE & NATIONAL ORIGIN DISCRIMINATION

Plaintiff sues Defendant and re-alleges Paragraphs | through 34, inclusive, as if fully

incorporated herein by this reference.

This action is based upon Race and National Origin under Title VII.

CNB has fifteen (15) or more employees for each working day in each of the

twenty or more calendar weeks in 2016, 2017, 2018, and 2019 calendar years,

respectively.

Plaintiff is Black, of Haitian national origin, ancestry or decent and is member of a

protected group.

Plaintiff performed her job satisfactorily.

CNB treated similar-situated employees outside of the Plaintiffs protected class more

favorably.

CNB’s conduct violated Title VII in that Plaintiff was discriminated against on the basis

of her Race and/or National Origin.

As aresult of CNB’s actions, Plaintiff has been damaged.

WHEREFORE, Plaintiff, NATACHA ALEXANDRE, prays that this Court:

a. Advance this case on the docket;

b. Issue a declaratory judgment that Defendant’s practices toward Plaintiff violated
her rights under Title VII;

ci Enjoin Defendant, its employees and supervisor staff form continuing or
maintaining the policy, practice, or custom of denying, abridging, withholding, or

Page 9 of 12
Case 1:19-cv-25189-RNS Document 1 Entered on FLSD Docket 12/17/2019 Page 10 of 12

conditioning the rights of employees on the basis of their race, or national origin,
which rights are secured by Title VIL.
d. Order Defendant to remedy the racial discrimination against Plaintiff by:

l. Paying appropriate back pay;

Di Paying prejudgment interest; and
3. Providing any other relief that this Court deems appropriate.
e, Enter a Judgment against the Defendant for Compensatory Damages;
f. Enter a Judgment against the Defendant for punitive damages; and
g. Enter a Judgment against the Defendant for costs, and a reasonable award of

attorneys’ fees pursuant to Title VIL.

COUNT II
RETALIATION

43. Plaintiff sues Defendant and re-alleges Paragraph | through 34, as if fully incorporated
herein by this reference.

44, This is an action for retaliatory conduct under Title VII.

45. Defendant retaliated against Plaintiff because Plaintiff complained about a new hire
(Business Banker) who was insubordinate to Plaintiff and because she (Plaintiff) called
Police and Fire Rescue to the Branch Banking Center while the new hire (Business
Banker) was having a mental/emotional breakdown. Thereafter, Defendant gave Plaintiff
two (2) warning letters for no apparent reason.

46. Defendant CNB retaliated against Plaintiff by denying Plaintiff her Performance Incentive
Bonus for First Quarter and Second Quarter 2019.

47. Defendant retaliated against Plaintiff by micro-managing Plaintiff's work and

duties.

Page 10 of 12
Case 1:19-cv-25189-RNS Document 1 Entered on FLSD Docket 12/17/2019 Page 11 of 12

48, CNB retaliated against Plaintiff for her exercising her rights afforded her under Title VII.

49 CNB violated Plaintiff's privilege of employment in violation of Title VIL.

50. As aresult of Defendant’s violation of Title VII, Plaintiff has been damaged.

WHEREFORE, Plaintiff, NATACHA ALEXANDRE, prays that this Court:,

a.

b.

Advance this case on the docket;

Assign this case for hearing at the earliest practicable date and cause this
case to be in every way expedited pursuant to 42 U.S.C. § 2000e-5(f)(5);

Issue a declaratory judgment that Defendant’s practices toward Plaintiff
violated her rights under Title VII;

Enjoin Defendant, its administrators, directors and supervisors from
continuing or maintaining the policy, practice, or custom of denying,
abridging, withholding, or conditioning the rights of employees on the
basis of their national origin, which rights are secured by Title VII.

Order Defendant to remedy the National Origin discrimination against
Plaintiff by:

1. Paying appropriate back pay;

2. Paying prejudgment interest; and

3. Providing any other relief that this Court deems appropriate.
Enter a judgment against Defendant for compensatory damages;
Enter a judgment against Defendant for punitive damages; and

Enter a judgment against Defendant for costs and a reasonable award of
attorneys’ fees pursuant to Title VII.

Respectfully submitted on this 17" day of December, 2019.

JAMES JEAN-FRANCOIS, P.A.
Duty Free Americas, Suite 211
6100 Hollywood Boulevard
Hollywood, FL 33024

Phone: (954) 987-8832

Page 11 of 12
Case 1:19-cv-25189-RNS Document 1 Entered on FLSD Docket 12/17/2019 Page 12 of 12

Fax: (954) 987-2622
E-mail: (P) _jamesjeanfrancoisesq@hotmail.com (P)
jionlaw@hotmail.com (S)

By: /s/
JAMES JEAN-FRANCOIS, ESQ.
Fla. Bar # 0495115
Attorney for Plaintiff

Page 12 of 12
